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                      UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION

MWK RECRUITING, INC.

               Plaintiff,
                                               Civil Action No. 1:18-cv-00444
      v.

EVAN P. JOWERS, YULIYA
VINOKUROVA, ALEJANDRO
VARGAS, and LEGIS VENTURES
(HK) COMPANY LIMITED (aka
Jowers / Vargas),

               Defendants.


EVAN P. JOWERS

               Counterclaimant,

      v.

MWK RECRUITING, INC., ROBERT
E. KINNEY, MICHELLE W. KINNEY,
RECRUITING PARTNERS GP, INC.,
KINNEY RECRUITING LLC,
COUNSEL UNLIMITED LLC, and
KINNEY RECRUITING LIMITED

               Counter-defendants.


   RESPONSE TO JOWERS’S OBJECTION TO MAGISTRATE’S ORDER

      The record and the law fully support Judge Austin’s order of March 8, 2021 (Dkt.

No. 265). As described in the Kinney Entities Response, the subpoena in question

sought information that is not relevant to any issue in the case and was served in

violation of FRCP 45. (Dkt. No. 264). For these reasons, the Judge Austin’s Order

should be sustained. To the extent the Court believes additional input from the Kinney
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Entities may be useful, the Kinney Entities stand ready to provide an additional

response.



Dated: March 23, 2021                      Respectfully Submitted,

                                           /s/ Robert E. Kinney
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                                           ATTORNEYS FOR PLAINTIFF MWK
                                           AND FOR COUNTER-DEFENDANTS
                                           KINNEY, RP GP, KR LLC, CU LLC,
                                           AND KINNEY RECRUITING HK




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